Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 1 of 12 PageID #: 1785
                                                       21-cv-1846-EEF-MLH

                                                                  Paragraph 6 has been
                            CONFIDENTIALITY AND PROTECTIVE ORDER  modified by the
                                                                  court.
          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the following Protective

  Order is issued to govern certain disclosures in this case:

      1. Scope. All materials produced or adduced in the course of discovery, including initial

          disclosures, responses to discovery requests, deposition testimony and exhibits, and

          information derived directly therefrom (hereinafter collectively

          be subject to this Order concerning Confidential Information as defined below. This

          Order is subject to the Local Rules of the Western District of Louisiana and the Federal

          Rules of Civil Procedure on matters of procedure and calculation of time periods.

      2. Confidential Information.

                                                                                                 ,

          among other items, one or more of the following categories: (a) information

          prohibited from disclosure by statute; (b) information that reveals trade secrets; (c)

          research, technical, commercial or financial information that the party has

          maintained as confidential; (d) medical information concerning any individual; (e)

          personal identity information; (f) income tax returns (including attached schedules

          and forms), W-2 forms and 1099 forms; and/or (g) personnel or employment records

          of a person who is not a party to the case. Information or documents that are available

          to the public may not be designated as Confidential Information.

      3. Designation.

              a. Procedure. A party may designate a document as Confidential Information for



                   on the document and on all copies in a manner that will not interfere with the



  Error! Unknown document property name.
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 2 of 12 PageID #: 1786




              legibility of the document. As used in this Order, the term             includes

              electronic images, duplicates, extracts, summaries or descriptions that contain

              the Confidential Information.

              prior to or at the time that the documents are produced or disclosed. Applying



              document has any status or protection by statute or otherwise except to the

              extent and for the purposes of this Order. Any copies made of any documents



              electronic databases or lists of documents that do not contain substantial

              portions or images of the text of marked documents and do not otherwise

              disclose the substance of the Confidential Information are not required to be

              marked.

           b. Inadvertent Failure to Designate.      An inadvertent failure to designate a

              document as Confidential Information does not, standing alone, waive the

              right to subsequently so designate the document; provided, however, that a

              failure to serve a timely Notice of Designation of deposition testimony as

              required by this Order at Paragraph 4, even if inadvertent, waives any

              protection for deposition testimony. If a party designates a document as

              Confidential Information after it was initially produced, the receiving party, on

              notification of the designation, must make a reasonable effort to assure that

              the document is treated in accordance with the provisions of this Order. No

              party shall be found to have violated this Order for failing to maintain the




                                              2
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 3 of 12 PageID #: 1787




                  confidentiality of material during a time when that material has not been

                  designated Confidential Information.

              c. Inspection of Materials Prior to Production. In the event that documents,

                  materials or other information are made subject to inspection prior to their

                  production, no marking of those materials need be made by the producing

                  party at the time of that inspection. For purposes of such an inspection, all

                  materials made available for the inspection shall be considered Confidential

                  Information and subject to this Order at the time of the inspection. Thereafter,

                  if any materials subject to that inspection are produced and the producing

                  party wishes those materials to be considered Confidential Information under

                  this Order, the producing party shall so designate them in accordance with the

                  procedures set forth in this Order.

              d. Certification by Counsel or Party. The designation of materials as Confidential

                  Information is a certification by an attorney or a party appearing pro se that

                  the document contains Confidential Information as defined in this order. 1

      4. Depositions. Deposition testimony is protected by this Order only if two distinct

          actions are taken with respect to that testimony. First, deposition testimony must be

          designated                                                       the testimony is taken. Such

          designation shall be specific as to the portions that contain Confidential Information.

          Deposition testimony so designated shall be treated as Confidential Information

          protected by this Order until thirty (30) days after delivery of the transcript by the



  1 By designating documents as confidential pursuant to this Order, counsel submits to the jurisdiction and
  authority of this Court concerning such designations and the enforcement of this Order.

                                                      3
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 4 of 12 PageID #: 1788




        court reporter to any party or the witness. Second, within thirty (30) days of the

        delivery of the transcript, a designating party may serve a Notice of Designation to all

        parties of record identifying the specific portions of the transcript that are designated

        Confidential Information, and thereafter those portions identified in the Notice of

        Designation shall be protected under the terms of this Order. The failure to serve a

        timely Notice of Designation waives any designation of deposition testimony as

        Confidential Information that was made on the record of the deposition, unless

        otherwise ordered by the Court.        Likewise, testimony cannot be subsequently

        designated as Confidential Information unless it was specifically so designated on the

        record during or immediately upon completion of the subject deposition.

     5. Protection of Confidential Material.

           a. General Protections. Confidential Information shall not be used or disclosed

               by the parties, counsel for the parties or any other persons identified in

               subparagraph (b) for any purpose whatsoever other than in this litigation,

               which includes any appeal thereof.

           b. Limited Third-Party Disclosures. The parties and counsel for the parties shall

               not disclose or permit the disclosure of any Confidential Information to any

               third person or entity except as set forth in subparagraphs (1)-(9) below.

               Subject to these requirements, the following categories of persons may be

               allowed to review Confidential Information: (1) Counsel for the parties and

               employees of counsel who have responsibility for the action; (2) individual

               parties and officers, directors, employees, agents or representatives of a party

               but only to the


                                                4
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 5 of 12 PageID #: 1789




              assistance is reasonably necessary to the conduct of the litigation in which the

              information is disclosed; (3) the Court and its personnel; (4) court reporters

              and recorders engaged for depositions and/or hearings; (5) those persons

              specifically engaged for the limited purpose of making copies of documents or

              organizing or processing documents, including outside vendors hired to

              process electronically stored documents; (6) consultants, investigators, or

              experts employed by the parties or counsel for the parties to assist in the

              preparation and trial of this action but only after such persons have completed

              the certific                                             Acknowledgment of

              Understanding and Agreement to Be Bound                             ; (7) during

              their depositions, or in preparation for their trial or deposition testimony,

              witnesses in this action to whom disclosure is reasonably necessary.

              Witnesses shall not retain a copy of documents containing Confidential

              Information, except witnesses may receive a copy of all exhibits marked at

              their depositions in connection with review of the transcripts. Pages of

              transcribed deposition testimony or exhibits to depositions that are

              designated as Confidential Information pursuant to the process set out in this

              Order must be separately bound by the court reporter and may not be

              disclosed to anyone except as permitted under this Order. (8) The author or

              recipient of the document in the regular course of business (not including a

              person who received the document in the course of litigation); and (9) other

              persons only by written consent of the producing party or upon order of the

              Court and on such conditions as may be agreed upon or ordered.


                                              5
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 6 of 12 PageID #: 1790




           c. Control of Documents. Counsel for the parties shall make reasonable efforts

               to prevent unauthorized or inadvertent disclosure of Confidential

               Information. Counsel shall maintain the originals of the forms signed by

               persons acknowledging their obligations under this Order for a period of three

               (3) years after the termination of the case.

     6. Filing of Confidential Information. This Order does not, standing alone, authorize

        the filing of any document under seal.       Any party wishing to file a document

        designated as Confidential Information in connection with a motion, brief or other
                                                                 Parties should redact rather than
        submission to the Court must comply with Local Rule 5.6. file information under seal. MLH

     7. Challenges by a Party to Designation as Confidential Information.                  The

        designation of any material or document as Confidential Information is subject to

        challenge by any party. The following procedure shall apply to any such challenge.

           a. Meet and Confer.       A party challenging the designation of Confidential

               Information must do so in good faith and must begin the process by conferring

               directly with counsel for the designating party, or directly with a party who is

               appearing pro se. In conferring, the challenging party must explain the basis

               for its belief that the confidentiality designation was not proper and must give

               the designating party an opportunity to review the designated material, to

               reconsider the designation, and, if no change in designation is offered, to

               explain the basis for the designation. The designating party must respond to

               the challenge within five (5) business days.

           b. Judicial Intervention.    A party who elects to challenge a confidentiality

               designation may file and serve a motion that identifies the challenged material


                                               6
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 7 of 12 PageID #: 1791




               and sets forth in detail the basis for the challenge. Each such motion must be

               accompanied by a competent certification that affirms that the movant has

               complied with the meet-and-confer requirements of this Order. The burden

               of persuasion in any such challenge proceeding shall be on the designating

               party. Until the Court rules on the challenge, all parties shall continue to treat

               the materials as Confidential Information under the terms of this Order.

     8. Action by the Court. Applications to the Court for an order relating to materials or

        documents designated Confidential Information shall be by motion. Nothing in this

        Order or any action or agreement of a party under this Order shall limit the

        authority to make orders concerning the disclosure of documents produced in

        discovery or at trial.

     9. Use of Confidential Documents or Information at Trial. Nothing in this Order shall

        be construed to affect the use of any document, material, or information at any trial

        or hearing. A party who intends to present or who anticipates that another party may

        present Confidential Information at a hearing or trial shall bring that issue to the

                                                                      l memorandum without

        disclosing the substance of the Confidential Information. The Court may thereafter

        make such orders as are necessary to govern the use of such documents or

        information at trial.

     10. Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

           a. If a receiving party is served with a subpoena or an order issued in other

               litigation or regulatory or criminal investigation that would compel disclosure

               of any material or document designated in this action as Confidential


                                               7
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 8 of 12 PageID #: 1792




               Information, the receiving party must so notify the designating party, in

               writing, immediately and in no event more than three (3) court days after

               receiving the subpoena or order. Such notification must include a copy of the

               subpoena or court order.

           b. The receiving party also must immediately inform, in writing, the person or

               entity that caused the subpoena or order to issue in the other litigation that

               some or all of the material covered by the subpoena or order is the subject of

               this Order. In addition, the receiving party must deliver a copy of this Order

               promptly to the party in the other action that caused the subpoena to issue.

           c. The purpose of imposing these duties is to alert the issuing person or entity to

               the existence of this Order and to afford the designating party in this case an

               opportunity to make attempts to protect its Confidential Information in the

               court from which the subpoena or order issued. The designating party shall

               bear the burden and the expense of seeking protection in that court of its

               Confidential Information, and nothing in these provisions should be construed

               as authorizing or encouraging a receiving party in this action to disobey a

               lawful directive from another court.       The obligations set forth in this

               paragraph remain in effect while the party has in its possession, custody or

               control Confidential Information by the other party to this case.

     11. Obligations upon Conclusion of Litigation.

           a. Order Continues in Force. Unless otherwise agreed upon or ordered, this

               Order shall remain in force after dismissal or entry of final judgment not

               subject to further appeal.


                                              8
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 9 of 12 PageID #: 1793




           b. Obligations upon Conclusion of Litigation.       Within sixty (60) days after

              dismissal or entry of final judgment not subject to further appeal, the

              producing party may make demand upon the receiving party for return or

              destruction of all materials considered Confidential Information under this

              Order, including copies as defined above. No party shall have any obligation

              to return or destroy Confidential Information if such a demand is not timely

              made. Where the demand for return or destruction is timely made, the subject

              documents shall be returned to the producing party unless: (1) the document

              has been offered into evidence or filed without restriction as to disclosure; (2)

              the parties agree to destruction to the extent practicable in lieu of return; or

              (3) as to documents bearing the notations, summations, or other mental

              impressions of the receiving party (i.e., attorney work product), that party

              elects to destroy the documents and certifies to the producing party that it has

              done so; or (4) to the extent retention is required by other laws, rules or

              regulations, including those of the Louisiana State Bar Association and

              Louisiana Supreme Court. The parties may choose to agree that the receiving

              party shall destroy documents containing Confidential Information and certify

              the fact of destruction, and that the receiving party shall not be required to

              locate, isolate and return e-mails (including attachments to e-mails) that may

              include Confidential Information or Confidential Information contained in

              deposition transcripts or drafts or final expert reports.

           c. Retention of Work Product and One Set of Filed Documents. Notwithstanding

              the above requirements to return or destroy documents, counsel may retain:


                                              9
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 10 of 12 PageID #: 1794




                (1) attorney work product, including an index that refers or relates to

                designated Confidential Information, so long as that work product does not

                duplicate verbatim substantial portions of Confidential Information, and (2)

                one complete set of all documents filed with the Court including those filed

                under seal.   Any retained Confidential Information shall continue to be

                protected under this Order. An attorney may use his or her own work product

                in subsequent litigation, provided that its use does not disclose or use

                Confidential Information or otherwise violate this Order.

            d. Deletion of Documents Filed under Seal from Electronic Case Filing (ECF)

                System. Filings under seal shall be deleted from the ECF system only upon

                order of the Court.

      12. Order Subject to Modification. This Order shall be subject to modification by the

         Court on its own initiative or on motion of a party or any other person with standing

         concerning the subject matter.

      13. No Prior Judicial Determination. This Order is entered based on the

         representations and agreements of the parties and for the purpose of facilitating

         discovery. Nothing herein shall be construed or presented as a judicial determination

         that any document or material designated Confidential Information by counsel or the

         parties is entitled to protection under Rule 26(c) of the Federal Rules of Civil

         Procedure or otherwise until such time as the Court may rule on a specific document

         or issue.




                                              10
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 11 of 12 PageID #: 1795




      14. Persons Bound. This Order shall take effect when entered and shall be binding upon

         all counsel of record and their law firms, the parties, and persons made subject to this

         Order by its terms.

            Shreveport, Louisiana, this 12th day of             September            , 2022.



                                             _________________________________________________
                                                          HON. MARK L. HORNSBY
                                                  UNITED STATES MAGISTRATE JUDGE




                                                11
Case 5:21-cv-01846-EEF-MLH Document 57 Filed 09/12/22 Page 12 of 12 PageID #: 1796




                                        ATTACHMENT A

                        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

         The undersigned hereby acknowledges that he has read the Confidentiality and

      Protective Order in the above-captioned action and attached hereto, understands the

      terms thereof and agrees to be bound by those terms. The undersigned submits to the

      jurisdiction of the United States District Court for the Western District of Louisiana in

      matters relating to the aforementioned and attached Confidentiality and Protective

      Order and understands that the terms of the Order obligate him/her to use materials

      designated as Confidential Information in accordance with the Order solely for the

      purposes of the above-captioned action, and not to disclose any such Confidential

      Information to any other person, firm or concern. The undersigned acknowledges that

      violation of the Confidentiality and Protective Order may result in penalties for contempt

      of court.

      Name (printed):          __________________________________

      Job Title:               __________________________________

      Employer:                __________________________________

      Business Address:        __________________________________

                               __________________________________

      Date:                    __________________________________

      Signature:               __________________________________




                                                 12
